IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN

DISTRICT OF TENNESSEE, AT GREENEVILLE:

 

BARBARA WELCH
Plaintiff
CASE NO.:
VERSUS JURY DEMANDED
BALLAD HEALTH
Defendant

COMPLAINT

1, This case arises under 28 USC § 1332. The amount in controversy
exceeds Seventy-Five Thousand ($75,000.00) Dollars.

2. Plaintiff is a citizen and resident of Washington County, Virginia.
Defendant is a Tennessee corporation with situs and principal place of business situate in
Washington County, Tennessee, and which may be served by serving its registered agent
for service of process, Timothy Belisle, 400 North State of Franklin Rd., and/or 303 Med
Tech Parkway, Johnson City, Tennessee, 37604.

3. Plaintiff avers that all acts of health care liability to be set forth herein
occurred in Sullivan County, Tennessee, at Ballad Health-Bristol Regional Medical
Center, owned and/or operated by defendant, and situate in Bristol, Tennessee.

4 On February 19, 2020, pursuant to the mandates of TCA §29-26-
121(a), written notice was given to the defendant of the potential claims of the plaintiff

sounding in healthcare liability. Plaintiff, further, avers that the notice contained all the

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requirements set forth by TCA §29-26-121(a)(2), and further, that notice was timely
received by the defendant, more than sixty (60) days prior to the filing of this litigation,
in accordance with TCA §29-26-121(a) (4).

5. Plaintiff avers that the instant litigation (a) is filed within one year of
the date a reasonable person knew or could have known of the deviation from the
accepted medical standard of care, as extended by the 120-day pre-suit notice extension;
(b) that the litigation has been commenced after sixty (60) days from the date of the
mailing of the pre-suit notice, and prior to the expiration of the one (1) year statute of
limitations for health care liability actions, again, said statute of limitation being extended
by the 120-day pre-suit notice extension, and, (c) that the litigation has been commenced
within the three-year statute of repose.

6. Attached hereto and incorporated herewith as collective Exhibit A, as
required pursuant to TCA §29-26-121(b), are (a) a copy of all pre-suit notice letters sent
to the defendant, fully compliant with the terms and provisions of the Healthcare Liability
Act; (b) copies of all the postage receipts for same; (c) copies of all of the medical
authorizations sent with each pre-suit notice letter, which plaintiff avers are fully
HIPAA-compliant, and (d) copies of the certified mail receipts for each recipient sent
such pre-suit notice on behalf of the defendant.

7. Pursuant to the mandates of TCA §29-26-122, attached hereto and
incorporated herewith as Exhibit B to this Complaint is a Certificate of Good Faith as
required by the aforesaid statute. Plaintiff, further, avers that this Certificate of Good

Faith is fully compliant with the aforesaid statute.

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8. Attached hereto and incorporated herewith as Exhibit C is the affidavit
of plaintiff's counsel and his secretary, both of whom caused to be prepared, prepared
and sent all items required to comply with the pre-suit notice provisions of Tennessee’s
Health Care Liability Act, stating that plaintiff complied with the pre-suit notice
requisites of the Health Care Liability Act. Affirmatively, plaintiff avers that all
requirements of the pre-suit notice provisions of the Healthcare Liability Act for the
instant proceeding have been fully complied with.

Plaintiff having averred that she has complied with all necessary requisites
to the filing of this Complaint, she, further, avers as follows:

9. On or about March 3" or 4", 2019, plaintiff avers that she entered
Bristol Regional Medical Center, which was then and there owned and/or operated by
defendant, in order that an operation could be performed upon her.

10. Subsequent to the operation, plaintiff was transferred to Bristol
Regional’s ICU, due to the fact that she had a blockage in, among other places, her right
lower extremity. A stent was placed in the blockage to open it up.

11. In order to assist the opening of the blockage, and in order to increase
the blood flow to the affected leg, the nursing staff, and others under control of the
nursing staff at Bristol Regional Medical Center—and, thus, all agents, servants, and
employees of defendant, Ballad Health—applied nitroglycerin ointment, a/k/a “nitro
paste,” to plaintiff's right foot.

Plaintiff, upon information and belief, states that, to this point, the nursing
staff had acted within the standard of care for ICU nurses and other nurses in Bristol,

Tennessee/Virginia for treatment of such maladies as plaintiff presented. However,

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plaintiff avers that the subsequent acts which followed were absolutely deviations from
the standard of nursing care in Bristol Tennessee/Virginia and similar locales for the
treatments of persons suffering such maladies as plaintiff.

12. Plaintiff avers that the defendant’s agents, servants, and employees
applied the nitro paste not once, but several times to the same place. Plaintiff, further,
avers that the nitro paste was wrapped in a heated bandage not once, not twice, but
three times.

As the direct and proximate result of the negligent acts aforesaid,
plaintiff's right foot was seared as if she had been branded like cattle. A typical four or
five day hospital stay from the time she presented at Bristol Regional Medical Center to
the time she would have been discharged turned into a three (3) month stay at three (3)
different facilities. Plaintiff suffered excruciatingly. As a direct and proximate result,
plaintiff's leg had to be amputated at approximately the right knee.

13. Plaintiff incorporates Paragraphs | through 12, above, of the premises
to this Complaint. She avers that the defendant and its agents, servants, and employees
knew what the standard of care was for increasing blood flow to the lower extremities of
a post-operative patient in Bristol, Tennessee/Virginia in March, 2019. Plaintiff, further,
avers that defendant, its agents, servants, and employees (particularly its nursing staff)
deviated from said standard of care, and that, as a direct and proximate result thereof,
plaintiff sustained damages.

14. Plaintiff incorporates Paragraphs | through 13 above, of the premises
to this Complaint. She avers that defendant, its agents, servants, and employees, knew

what the standard of care was for providing informed consent—if, indeed, slathering on

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nitro paste and wrapping it in a heated wrap three times is within the standard of care for
nursing staff in the Bristol Tennessee/Virginia area when attempting to increase blood
flow to a post-operative patient’s lower extremities, which plaintiff highly doubts—as to
what adverse causes and effects putting more nitro paste on a lower extremity and
wrapping it with a heated wrap three times would occur in patients such as plaintiff,
whose blood flow needed to be increased post-operatively to the lower extremity.
Plaintiff, further, avers that defendant, its agents, servants and employees, deviated from
said standard of care, in that—if, again, this defendant uses the poor excuse “well, she
knew what we were doing—plaintiff was not adequately informed to make an adequate
decision about her medical care.

Plaintiff, further, avers that, as the direct and proximate result of the
defendant’s, its agents’, servants’, and employees’, violation of the standard of care
regarding informed consent, she sustained damages.

15. Plaintiff incorporates Paragraphs 1 through 14, above, of the premises
to this Complaint. She avers that, as a direct and proximate result of the deviations from
the medical standard of care described above, she has sustained great physical and mental
pain, suffering, and emotional distress, and that she will sustain same in the future.
Plaintiff, further, avers that, to date, she has expended and/or onerated herself to expend
the sum of $ in health care bills, which have not been paid by a
third-party, and will sustain same in the future. Plaintiff, further, avers that, to date, she
has come under the care of numerous medical professionals, has been hospitalized
several times, both at defendant’s and at other facilities, has been hospitalized in an acute

care mental facility, due to the enormous mental burden upon her of losing her right leg

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as a result of this medical “screw up,” and that she shall require such care in the future.
She avers that her injuries are painful and permanent in nature.

Plaintiff, prior to this incident, had been able to take care of her husband,
who is presently suffering from the effects of dementia and Alzheimer’s. Her care of her
husband since March, 2019, has been drastically curtailed, as the direct and proximate
result of this medical negligence.

16. Plaintiff incorporates Paragraphs | through 15 of the premises to this
Complaint and avers that this is a proper case for punitive damages. First, the defendant,
its agents, servants and employees, grossly deviated from the accepted standard of ICU
nursing care in Bristol Tennessee/Virginia and similar communities. Plaintiff avers that
one does not slather on nitro paste onto an individual as if it were peanut butter on bread,
much less slap it copiously on the affected area and then wrap it three times with a heated
wrap. A layperson can say—although Ballad will never admit—that this is grossly
deviant from the standard of care. Nitro paste, a heating agent, in combination with, in
essence, a “hot towel” from a barber shop, is certainly going to brand a human like a cow.

Secondly, it appears as if defendant and its staff have attempted to cover
up the record, although they did a poor job in covering it up. For example, many
notations in plaintiff's chart regarding the use of nitro paste have been amended. What
was also amended was the gratuitous insertion of a chart entry that plaintiff is allergic to
nitro paste, perhaps to show that the nitro paste was not lathered onto her.

Plaintiff is not, and never has been, allergic to nitro paste. Thus, this is a
deliberate attempt by defendant and its agents to falsify plaintiff's records, and is also

proof that the defendant knew it had committed malpractice, but is attempting to hide it.

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WHEREFORE, plaintiff demands judgment against defendant in the sum
of One Million, Five Hundred Thousand ($1,500,000.00) Dollars in compensatory
damages, including any unpaid medical bills pursuant to T.C.A. § 29-26-119, and
demands judgment for punitive damages to the maximum extent allowed by statute
[T.C.A. § 29-39-104 (a)(5)].

Plaintiff demands a jury to try this case.

   
  
 
  

 

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SANTORE AND SANTORE
Attorneys at Law

P. O. Box 113

Greeneville, TN 37744-0113
423-639-3511

Attorneys for Plaintiffs

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 7 of 46 PagelID#: 7
PLAINTIFF’S EXHIBIT A:

1. Copies of pre-suit notice letters sent to defendant
and/or its authorized agent(s)

2. Copies of receipt for certified postage paid

3. Copies of receipts executed by addressees for
certified mail (“green cards”

4. Copies of HIPAA-compliant medical authorizations
sent with certified mail above

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SANTORE & SANTORE

Atrorneys At Law
121 E. Deror St.
GREENEVILLE, TENNESSEE 37744

SERVING THE PUBLIC AND THE PROFESSION SINCE 1965
Francis X. SANTORE (1931 - 2004) P.O. Box L143
Francis X. SANTORE, JR.* (423) 639-3511
Fax (423) 639-0494
February 19, 2020

Mr. Alan Levine

President, CEO and COO
BALLAD HEALTH

400 North State of Franklin Rd.
Johnson City, TN 37604

Mr. Alan Levine
President, CEO and COO
BALLAD HEALTH

303 Med Tech Parkway
Johnson City, TN 37604

Mr. Timothy Belisle, Esq.
General Counsel

BALLAD HEALTH

400 North State of Franklin Rd.
Johnson City, TN 37604

Mr. Timothy Belisle, Esq.
General Counsel
BALLAD HEALTH

303 Med Tech Parkway
Johnson City, TN 37604

SENT TO EACH ADDRESSEE VIA CERTIFIED MAIL

Dear Mr. Levine and Mr. Belisle:

Pursuant to the auspices of TCA § 29-26-121, this firm is hereby submitting to you the
required pre-suit notice under the Tennessee Healthcare Liability Act. Pursuant to the

aforesaid statute, please note the following information.

1. Pursuant to TCA § 29-26-121 (a) (2) (A) the full name and date of birth of the patient
whose treatment is at issue is Barbara Welch, date of birth February 20, 1945.

2. Pursuant to TCA § 29-26-121 (a) (2) (B), the name and address of the claimant
authorizing this notice is Barbara Welch, 19374 Benhams Road, Bristol, VA 24202.

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Mr. Alan Levine
Mr. Timothy Belisle
February 19, 2020
Page 2

3. Pursuant to TCA § 29-26-121 (a) (2) (C), the name and address of the attorney sending
the notice is Francis X. Santore, Jr., SANTORE AND SANTORE, Attorneys at Law,
121 East Depot St., P. O. Box 113, Greeneville, TN 37744-0113.

4. Pursuant to TCA § 29-26-121 (a) (2) (D), the following is a list of the names and
addresses of all providers being sent a notice:

BALLAD HEALTH
c/o Mr. Alan Levine,
President, CEO, and COO and
c/o Mr. Timothy Belisle, Esq.,
General Counsel
400 North State of Franklin Rd.
(and 303 Med Tech Parkway)
Johnson City, TN 37604

5. Pursuant to the terms and provisions of TCA § 29-26-121 (a) (2) (E), you will find
enclosed herewith certain Medical Authorizations, fully compliant under HIPAA, which will
permit each provider listed in § 4 above to obtain the complete medical records from each
other provider being sent a notice.

Yours truly, —

  

 

Enclosures

ce: Ms, Barbara Welch

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AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: BALLAD HEALTH-BRISTOL REG. MED. CENTER
ATTENTION: Medical Records
1 Medical Park Blvd.
Bristol, TN 37620

RE: Barbara Welch
SS#: XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician’s records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
Tech Parkway) Johnson City, TN 37604

b. General Provisions

 

The scope of the dates of the records to be provided is as follows: January 1, 2019 to date and beyond (this is a
continuing authorization)

The authorization is valid until January 1, 2022.

The purpose of this authorization, release and access is as follows: to settle and/or defend a potential action against
Ballad Health, pursuant to, and as required by, the Tennessee Healthcare Liability Act.

By my signature below, I understand and agree (a) that once the above information is disclosed, there is potential for the
designated recipient, unless prohibited by Federal or State statute or court/administrative order, to redisclose the
information requested, and that the information may no longer be protected by Federal or State privacy laws and/or
regulations; (b) that the provider furnishing the copies may receive compensation for doing so; (c) that I may refuse to
give consent to access to and release of this information, but that the information may still be obtained pursuant to
Judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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give consent to access to and release of this information, but that the information may still be obtained pursuant to
judicially-mandated discovery; (d) that | may revoke this authorization at any time by giving written notice to the persons
or entities authorized to receive this information as designated above, except that a revocation of this Authorization will
not apply to records already received before its revocation; (e) that (1) I am at least eighteen (18) years of age, and of
sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if | am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to
execute this Authorization on this person’s behalf, and I do so without the application of force, threats, coercion or other
intimidation.

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Date ate of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority | have to act for such person is as follows: N/A)
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COUNTY OF WASHINGTON Succ tk

Personally appeared before me, a Notary Public in and for the State and County aforesaid, the within
named bargainor, BARBARA LEIGH JANE WELCH, with whom | am personally acquainted, or whose identity has

been sufficiently proven to me, and who acknowledged that he/she executed the within named document, consisting of
two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this _ Gaay of G Pere 20 CS.

 
 
   

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My commission expires: LLY. . i ee

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Vly Commission Expires July 17 2021

 

Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page17of46 PagelD #: 17
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: Dr. Joseph T. Chun
ATTENTION: Medical Records
1934 Alcoa Highway, Suite 362
Knoxville, TN 37920

RE: Barbara Welch
SS#: XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician’s records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
Tech Parkway) Johnson City, TN 37604

b. General Provisions

The scope of the dates of the records to be provided is as follows: January 1, 2019 to date and beyond (this is a
continuing authorization)

The authorization is valid until January 1, 2022.

The purpose of this authorization, release and access is as follows: to settle and/or defend a potential action against
Ballad Health, pursuant to, and as required by, the Tennessee Healthcare Liability Act.

By my signature below, I understand and agree (a) that once the above information is disclosed, there is potential for the
designated recipient, unless prohibited by Federal or State statute or court/administrative order, to redisclose the
information requested, and that the information may no longer be protected by Federal or State privacy laws and/or
regulations; (b) that the provider furnishing the copies may receive compensation for doing so; (c) that I may refuse to
give consent to access to and release of this information, but that the information may still be obtained pursuant to
judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 18 of 46 PagelD#: 18
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judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons
or entities authorized to receive this information as designated above, except that a revocation of this Authorization will
not apply to records already received before its revocation; (e) that (1) | am at least eighteen (18) years of age, and of
sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if | am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to
execute this Authorization on this person’s behalf, and I do so without the application of force, threats, coercion or other
intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
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COUNTY OF WASHINGTON Succ luk

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Witness my hand at office this C day of Perk 20 PSs

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 19 of 46 PagelD #: 19
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: ABINGDON HEALTH AND REHAB CENTER
ATTENTION: Medical Records
15051 Harmony Hills Lane
Abingdon, VA 24211

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and

state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

 

 

 

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concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
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HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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b. General Provisions

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 20 of 46 PagelD #: 20
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has been utilized to procure my signature below, OR (2) that, if | am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to

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intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
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COUNTY OF WASHINGTON Succ lk

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Witness my hand at office this _ Gaay of eee fe, 20 cS.

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My commission expires: LLLYALS / eS a eR

 

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Vly Commission Expires July 17, 2021

Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 21 0f 46 PagelD#: 21
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: ABINGDON AMBULANCE SERVICE
ATTENTION: Medical Records
611 Campus Drive, Suite 600
Abingdon, VA 24210

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

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concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
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In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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b. General Provisions

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 22 of 46 PagelD #: 22
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sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if | am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to
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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
COUNTY OF WASHINGTON Succi

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named bargainor, BARBARA LEIGH JANE WELCH, with whom | am personally acquainted, or whose identity has

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two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this G day of G Pere, 20 fi

 

 

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 23 of 46 PagelD #: 23
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: BRISTOL SURGICAL ASSOCIATES
ATTENTION: Medical Records
1 Medical Park Blvd., 250 West
Bristol, TN 37620

RE: Barbara Welch
SS#: XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
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concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
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In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
Tech Parkway) Johnson City, TN 37604

b. General Provisions

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 24 of 46 PagelID #: 24
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custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to
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Date Signature of Patient (Person Authorizing Release), or
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(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
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COUNTY OF WASHINGTON Suez tk >

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 25 of 46 PagelD #: 25
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: ADVANCED HOME CARE
ATTENTION: Medical Records
P. O. Box 580089
Charlotte, NC 28258-0089

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and

state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician’s records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
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insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 26 of 46 PagelD #: 26
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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

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COUNTY OF WASHINGTON Suceitke

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Witness my hand at office this G day of GPere K,20 cS

 

 

 

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My Commission Expires July 17, 2021

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 27 of 46 PagelD #: 27
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: Dr. Brett Odum
ATTENTION: Medical Records
240 Medical Park Blvd.
Bristol, TN 37620

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

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Tech Parkway) Johnson City, TN 37604

b. General Provisions

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By my signature below, I understand and agree (a) that once the above information is disclosed, there is potential for the
designated recipient, unless prohibited by Federal or State statute or court/administrative order, to redisclose the
information requested, and that the information may no longer be protected by Federal or State privacy laws and/or
regulations; (b) that the provider furnishing the copies may receive compensation for doing so; (c) that | may refuse to
give consent to access to and release of this information, but that the information may still be obtained pursuant to
judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 28 of 46 PagelD #: 28
give consent to access to and release of this information, but that the information may still be obtained pursuant to
judicially-mandated discovery; (d) that | may revoke this authorization at any time by giving written notice to the persons
or entities authorized to receive this information as designated above, except that a revocation of this Authorization will
not apply to records already received before its revocation; (e) that (1) I am at least eighteen (18) years of age, and of
sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if | am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, I am legally authorized to
execute this Authorization on this person’s behalf, and I do so without the application of force, threats, coercion or other
intimidation.

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Date Tass of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
COMMONWEALTHOFVIRGINA “>a or | ae neSSee
COUNTY OF WASHINGTON Su22 {Uk

Personally appeared before me, a Notary Public in and for the State and County aforesaid, the within
named bargainor, BARBARA LEIGH JANE WELCH, with whom | am personally acquainted, or whose identity has

been sufficiently proven to me, and who acknowledged that he/she executed the within named document, consisting of
two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this C= day of G=-Preneee,20 /S.

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My commission expires: LLAZE.

   

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Vly Commission Expires July 17, 2021

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 29 of 46 PagelD #: 29
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: Dr. Joseph Foley
ATTENTION: Medical Records
271 Medical Park Blvd.
Bristol, TN 37620

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician’s records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
Tech Parkway) Johnson City, TN 37604

b. General Provisions

The scope of the dates of the records to be provided is as follows: January 1, 2019 to date and beyond (this is a
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information requested, and that the information may no longer be protected by Federal or State privacy laws and/or
regulations; (b) that the provider furnishing the copies may receive compensation for doing so; (c) that | may refuse to
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judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 300f 46 PagelD #: 30
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sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if ] am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, | am legally authorized to
execute this Authorization on this person's behalf, and | do so without the application of force, threats, coercion or other
intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)

 

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COUNTY OF WASHINGTON Succ lk

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two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this G day of G Pere fe, 20 £S

 

 

 

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 31 o0f 46 PagelD #: 31
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: Dr. Pierre Istfan
ATTENTION: Medical Records
1 Medical Park Blvd.
Bristol, TN 37620

RE: Barbara Welch
SS#: XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

1, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician’s records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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b. General Provisions

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judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 32 of 46 PagelD #: 32
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sound mind as of the date of my execution of this Authorization, and that no force, threats, coercion or other intimidation
has been utilized to procure my signature below, OR (2) that, if ] am the parent, conservator, legal guardian, and/or
custodian of a person either not of legal age, or adjudged legally incompetent, if of legal age, I am legally authorized to
execute this Authorization on this person’s behalf, and | do so without the application of force, threats, coercion or other
intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
COUNTY OF WASHINGTON Suce lik

Personally appeared before me, a Notary Public in and for the State and County aforesaid, the within
named bargainor, BARBARA LEIGH JANE WELCH, with whom I am personally acquainted, or whose identity has

been sufficiently proven to me, and who acknowledged that he/she executed the within named document, consisting of
two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this G * day iain 20 oe

     

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 33 of 46 PagelD #: 33
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: Dr. Manoj Srinoth
ATTENTION: Medical Records
235 Medical Park Blvd.
Bristol, TN 37620

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

 

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

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concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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Judicially-mandated discovery; (d) that I may revoke this authorization at any time by giving written notice to the persons

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 34o0f 46 PagelD #: 34
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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority | have to act for such person is as follows: N/A)
COMMONWEALTH-OF-VIRGINIA. Sn OF | ee ESSE
COUNTY OF WASHINGTON Suez ilk

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two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this _ Garay 01 etree 202 oS.

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 35 of 46 PagelD #: 35
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: WOODRIDGE HOSPITAL
ATTENTION: Medical Records
403 N. State of Franklin Rd.
Johnson City, TN 37604

RE: Barbara Welch
SS#: XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

1, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

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concerning my physical condition and treatment, information and records concerning my mental condition and treatment,
records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and laboratory reports
of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
keeping on me, all psychiatric and psychological records, including any such records relative to psychiatric or
psychological treatment described above, all records from any social worker, all records in your file relevant to any
insurance claims, all consents for treatment or examination of whatever kind, all records relative to any periods or stays of
hospitalization in any type of facility for any length, including voluntary or involuntary confinement, any information
related to sexually transmitted disease, including, but not limited to, HIV and AIDS-related illnesses, any record of any
type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
above.

In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 36 of 46 PagelD #: 36
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intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)

 

€COMMONWEALTH-OF-VIRGINIA. Sac OR | ee ReESSS ES
COUNTY OF WASHINGTON Succ ilk

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two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this Cday of GQ Penk 20 7S.

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My commission expires: ALLER

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 37 of 46 PagelD #: 37
AUTHORIZATION TO RELEASE MEDICAL, PSYCHIATRIC, PSYCHOLOGICAL, EMPLOYMENT and
EDUCATION RECORDS INFORMATION

TO: BRISTOL REGIONAL COUNSELING (FRONTIER HEALTH)
ATTENTION: Medical Records
26 Midway Street
Bristol, TN 37620

RE: Barbara Welch
SS#:  XXX-XX-XXXX
DOB: February 20, 1945

a. Release of Individually-identifiable health information, pursuant to HIPAA and other applicable Federal and
state laws, regulations and case/administrative decisions:

I, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

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records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and any other
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of whatever nature, discharge summaries, progress notes, records of consultations, records of prescriptions, medical
history and physicals, all nurse’s notes and records, patient intake forms, all correspondence contained in any file you are
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type of substance abuse or treatment, and, generally, any and everything related to the above not specifically set forth
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In connection therewith, I hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic physicians,
psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare facilities or
providers of any kind and nature to disclose to and provide copies of the above information to the following: BALLAD
HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd. (and/or 303 Med
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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 38 of 46 PagelD #: 38
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intimidation.

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Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority I have to act for such person is as follows: N/A)
COUNTY OF WASHINGTON Succ tlk

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two (2) typewritten pages, for the purposes therein contained.

Witness my hand at office this Cday of GP re e.20 LS.

  

 

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INFORM

TO: BALLAD HEALTH
ATTENTION: Medical Records
400 North State of Franklin Rd.
Johnson City, TN 37604

RE: Barbara Welch ;
ss#: AA Y — 260 6 2
DOB: February 20, 1945

 

|, Barbara Welch, hereby authorize the disclosure of individually identifiable health information as described below:

All information and records concerning my Protected Health Information, as defined by the HIPAA regulations,
including, but not limited to, all medical records, physician's records, surgeon’s records, information and records
concerning my physical condition and treatment, information and records concerning my mental condition and
treatment, records of all diagnostic tests, including, but not limited to, x-rays, CT scans, MRI films, photographs, and
any other radiologic, nuclear medical or radiation materials, all pathology materials, including slides, tissues, and
laboratory reports of whatever nature, discharge summaries, progress notes, records of consultations, records of
prescriptions, medical history and physicals, all nurse's notes and records, patient intake forms, all correspondence
contained in any file you are keeping on me, all psychiatric and psychological records, including any such records
relative to psychiatric or psychological treatment described above, all records from any social worker, all records in
your file relevant to any insurance claims, all consents for treatment or examination of whatever kind, all records
relative to any periods or stays of hospitalization in any type of facility for any length, including voluntary or
involuntary confinement, any information related to Sexually transmitted disease, including, but not limited to, HIV
and AlDS-related illnesses, any record of any type of substance abuse or treatment, and, generally, any and
everything related to the above not specifically set forth above.

In connection therewith, | hereby authorize any doctors, nurses, x-ray technicians, chiropractors, osteopathic
physicians, psychiatrists, psychologists, therapists, specialists, any and all other medical personnel and healthcare
facilities or providers of any kind and nature to disclose to and provide copies of the above information to the
following: BALLAD HEALTH, ATTN: Mr. Alan Levine and/or Mr. Timothy Belisle, 400 North State of Franklin Rd.
(and/or 303 Med Tech Parkway) Johnson City, TN 37604

b. General Provisions

The scope of the dates of the records to be provided is as follows: January 1, 2019 to date and beyond (this is a
continuing authorization)

The authorization is valid until January 1, 2022.

The purpose of this authorization, release and access is as follows: to settle and/or defend a potential action
against Ballad Health, pursuant to, and as required by, the Tennessee Healthcare Liability Act.

By my signature below, | understand and agree (a) that once the above information is disclosed, there is potential
for the designated recipient, unless prohibited by Federal or State statute or court/administrative order, to
redisclose the information requested, and that the information may no longer be protected by Federal or State
privacy laws and/or regulations; (b) that the provider furnishing the copies may receive compensation for doing so;
(c) that | may refuse to give consent to access to and release of this information, but that the information may still
be obtained pursuant to judicially-mandated discovery; (d) that | may revoke this authorization at any time by giving
written notice to the persons or entities authorized to receive this information as designated above, except that a

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revocation of this Authorization will .ut apply to records already received before .ts revocation; (e) that (1)! am at
least eighteen (18) years of age, and of sound mind as of the date of my execution of this Authorization, and that no
force, threats, coercion or other intimidation has been utilized to procure my signature below, OR (2) that, if |am the
parent, conservator, legal guardian, and/or custodian of a person either not of legal age, or adjudged legally
incompetent, if of legal age, | am legally authorized to execute this Authorization on this person's behalf, and | do so
without the application of force, threats, coercion or other intimidation.

és DuAca LJ o CL.

Date Signature of Patient (Person Authorizing Release), or
Legal Representative

(If the signatory is a Legal Representative: The authority | have to act for such person is as follows: N/A)

COMMONWEALTH OF MIRGINIA- State. of “Tennessee

' Sv livaurn
COUNTY OF

Personally appeared before me, a Notary Public in and for the State and County aforesaid, the within
named bargainor, BARBARA WELCH, with whom | am personally acquainted, or whose identity has been sufficiently
proven to me, and who acknowledged that he/she executed the within named document, consisting of two (2)
typewritten pages, for the purposes therein contained.

—

Witness my hand at office this | day of HBULMA , 20 Lv .<
ah

Et OC. >

Notary Public WS
MY COMMISSION E: SEPTEMEBR 29, 2021
My commission expires:

 

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PLAINTIFF’S EXHIBIT B:
CERTIFICATE OF GOOD FAITH

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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN

DISTRICT OF TENNESSEE, AT GREENEVILLE:

 

BARBARA WELCH

Plaintiff

VERSUS JURY DEMANDED

BALLAD HEALTH

Defendant

 

 

CERTIFICATE OF GOOD FAITH

Medical Malpractice Case
PLAINTIFF’S FORM

A. In accordance with T.C.A. § 29-26-122, I hereby state the following: (Check item
1 or 2 below and sign your name beneath the item you have checked, verifying the
information you have checked. Failure to check item 1 or 2 and/or not signing item 1 or 2
will make this case subject to dismissal with prejudice.)

XxX ii. Plaintiff's counsel has consulted with one (1) or more experts who have

provided a signed written statement confirming that upon information and
belief they:

(A) Are competent under TCA § 29-26-115 to express opinion(s)
in the case; and

(B) Believe, based on the information available from the medical

records concerning the care and treatment of the Plaintiff for the
incident(s) at issue, that there is a good faith basis to maintain the

Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 43 of 46 PagelD #: 43
 
 
  
  

 

 

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B. You MUST complete the information below and sign:

A. § 29-26-122 ZERO (0) prior times. (Insert

NN PEA Zhisacxe
Execut ne his D) cument Date / /

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Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 44 0f 46 PagelD#: 44
PLAINTIFF’S EXHIBIT C:

AFFIDAVIT OF COMPLIANCE WITH
PROVISIONS OF TENNESSEE HEALTHCARE
LIABILITY ACT, EXECUTED BY PLAINTIFF’S

ATTORNEY AND HIS SECRETARY

Case 2:20-cv-00118-TRM-CRW Document1 Filed 06/11/20 Page 45 of 46 PagelD #: 45
AFFIDAVIT PURSUANT TO TCA §& 29-26-121 (a) (4)

STATE OF TENNESSEE
COUNTY OF GREENE

FRANCIS X. SANTORE, JR., and ROSALIE E. BROOKS, after having been
duly sworn, depose and say as follows:

1. We are the attorney for, and the secretary for the attorney for, respectively, the
plaintiff in the instant health care liability action:

2. On February 19, 2020 we prepared the required pre-suit notice letters, with all
the required information thereon and many HIPAA-compliant medical authorizations contained
therein, as required by the Tennessee Healthcare Liability Act.

3. All such pre-suit notice letters and required enclosures were received by the
recipients on the dates shown on the return receipts for the certified mailings (i.e. the “green
cards”) for each. And, the date of mailing of each notice is shown by the receipt for postage.
The certified mail number on the receipt for postage matches up with the green card on each of
the mailings, showing proof of receipt of notice. (See Exhibit A to this Complaint).

4. We, thus, aver that we have complied with the mandates of TCA § 29-26-121,
as we sent (a) the required pre-suit notice containing all the requisitestherein to each defendant
and (b) a series of HIPPA-complaint medical authorizations to each defendant, ¢
other exhibits attached to this Complaint. Fu 1 F

 
      
  
 

 

 

 

Rosalie E. Brooks

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Sworn and subscribed before me this __/ { day of» I k 6,
29D.

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